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                 UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION
                           ---------
UNITED STATES OF AMERICA,

                   Plaintiff,

             vs.

LAMAR IMMANUEL-DONTRICE BELL,

                   Defendant.
                                      /               INDICTMENT

      The Grand Jury charges:

                                      COUNT 1
                           (Felon in Possession of Firearm)

      On or about January 21, 2021, in Kalamazoo County, in the Southern Division

of the Western District of Michigan, the defendant,

                        LAMAR IMMANUEL-DONTRICE BELL,

knowing he had previously been convicted of a crime punishable by imprisonment for

a term exceeding one year, knowingly possessed a loaded KEL-TEC CNC Industries,

Inc., Model SUB 2000, 9mm rifle, serial number FFQT11, and the firearm was in and

affecting commerce.

18 U.S.C. § 922(g)(1)
18 U.S.C. § 924(a)(2)
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                                      COUNT 2
                         (Felon in Possession of Ammunition)

      On or about January 21, 2021, in Kalamazoo County, in the Southern Division

of the Western District of Michigan, the defendant,

                        LAMAR IMMANUEL-DONTRICE BELL,

knowing he had previously been convicted of a crime punishable by imprisonment for

a term exceeding one year, knowingly possessed a round of 9mm ammunition and a

round of .40 caliber ammunition, and the ammunition was in and affecting commerce.

18 U.S.C. § 922(g)(1)
18 U.S.C. § 924(a)(2)
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                           FORFEITURE ALLEGATION

      The allegations contained in Count 1 and 2 of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant

to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c). Upon conviction of an offense for

violation of 18 U.S.C. § 922(g)(1) set forth in this Indictment,

                        LAMAR IMMANUEL-DONTRICE BELL

shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.

§ 2461(c), any firearm and ammunition involved in or used in the offense, including,

but not limited to, the following:

    1. KEL-TEC CNC Industries, Inc., Model SUB 2000, 9mm rifle, serial number
       FFQT11;
    2. 27 rounds of 9mm ammunition; and
    3. M&P 40 magazine with one round of .40 caliber ammunition.

18 U.S.C. § 924(d)(1)
28 U.S.C. § 2461(c)
18 U.S.C. § 922(g)(1)



                                               A TRUE BILL


                                               _______________________________
                                               GRAND JURY FOREPERSON

ANDREW BYERLY BIRGE
United States Attorney


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DANIEL Y. MEKARU
Assistant United States Attorney
